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                                                                                  2020 Nov-13 PM 04:46
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

JAMES JOHNSON, JR., and                )
ERICKA JOHNSON,                        )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )
                                       )       Case No.: 2:18-cv-01835-MHH
ABF FREIGHT SYSTEM, INC.,              )
and MARK EUGENE                        )
MASSINGILL,                            )
                                       )
                                       )
      Defendants.                      )


                        DEFENDANTS’ EXHIBIT LIST


      COME NOW Defendants, ABF Freight System, Inc. and Mark Eugene

Massingill, by and through their counsel of record in the above-styled cause, and file

the following Exhibit List in accordance with Federal Rule of Civil Procedure 26:

                                    EXHIBITS

      Defendants expect to introduce the following exhibits into evidence at the trial

of the above-styled case:

      1.     Photographs of James Johnson’s trailer, Defendants’ Exhibits 2, 3, 7,

             11, 12, 14, and 15 to the Deposition of James Johnson, ABF FREIGHT

             SYSTEM 000290


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      2.    Accident photographs, Defendants’ Exhibits 5 and 6 to the Deposition

            of James Johnson

      3.    Accident report submitted to Energy Dispatch, LLC, pages 1 through 3

            and 12 through 17 of Defendants’ Exhibit 16 to the Deposition of James

            Johnson

      4.    Overhead demonstrative video of accident reconstruction prepared by

            Dr. Lars Reinhart and Biodynamic Research Corporation, labeled

            “A082419 Drone Video 30 fps” in Dr. Reinhart’s expert production

      5.    Front view demonstrative video of accident reconstruction prepared by

            Dr. Lars Reinhart and Biodynamic Research Corporation, labeled

            “A082419 Exterior Front Overall 60 fps” in Dr. Reinhart’s expert

            production

      6.    Side view demonstrative video of accident reconstruction prepared by

            Dr. Lars Reinhart and Biodynamic Research Corporation, labeled

            “A082419 Exterior View Side Overall 60 fps” in Dr. Reinhart’s expert

            production

      7.    Cab view demonstrative video of accident reconstruction prepared by

            Dr. Lars Reinhart and Biodynamic Research Corporation, labeled

            “A082419 Int Cab Front 60 fps” in Dr. Reinhart’s expert production




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      8.    Cab view demonstrative video of accident reconstruction prepared by

            Dr. Lars Reinhart and Biodynamic Research Corporation, labeled

            A082419 Int Cab Right 60 fps” in Dr. Reinhart’s expert production

      9.    Split-screen demonstrative video of accident reconstruction prepared

            by Dr. Lars Reinhart and Biodynamic Research Corporation, labeled

            “A082419 Int Cab Split Screen 60 fps” in Dr. Reinhart’s expert

            production

      10.   James Johnson’s 2016 and 2017 W-2 Wage and Tax Statements from

            Energy Dispatch, LLC, Defendants’ Exhibits 8 and 10 to the

            Deposition of Andrew Motz

      11.   Energy Dispatch, LLC’s Payment Detail Listing for James Johnson, Jr.,

            pages 6-16 and 21-33 of Defendants’ Exhibit 1 to the Deposition of

            Andrew Motz

      12.   Dr. Frank Spain Hodges’s June 28, 2017 patient record for James

            Johnson, Defendants’ Exhibit 2 to the Deposition of Frank Spain

            Hodges

      13.   Mark Massingill’s May 2014 application to ABF Freight System,

            Plaintiffs’ Exhibit 4 to the Deposition of Mark Massingill




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      14.   June 2014 PSP Detailed Report obtained by ABF from the Federal

            Motor Carrier Safety Administration, ABF FREIGHT SYSTEM

            000093

      15.   June 2014 Hireright Criminal History Reports obtained by ABF, ABF

            FREIGHT SYSTEM 000009-000010

      16.   October 2014 Record of Road Test administered to Massingill by

            ABF, ABF FREIGHT SYSTEM 000034, 000097-000098

      17.   October 2014 certificate of driving record, ABF FREIGHT SYSTEM

            000023

      18.   Training records for Massingill, ABF FREIGHT SYSTEM 000106

      19.   Certificate of Completion of entry-level driver training from the

            University of Arkansas – Fort Smith, ABF FREIGHT SYSTEM

            000037

      20.   Copy of Massingill Class A Commercial Driving License, ABF

            FREIGHT SYSTEM 000026

      21.   Color copy of Massingill’s Class A Commercial Driver’s License,

            Plaintiffs’ Exhibit 1 to the Deposition of Mark Massingill

      22.   Massingill’s June 2016 medical certificate, ABF FREIGHT SYSTEM

            000142




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      23.   James Johnson, Jr.’s May 13, 2016 job function questionnaire,

            Defendants’ Exhibit 2 to the Deposition of Andrew Motz

      24.   Bill of lading for load hauled by James Johnson, Jr. on October 26,

            2016, Defendants’ Exhibit 3 to the Deposition of Andrew Motz

      25.   Delivery report for load delivered by James Johnson, Jr. on October 26,

            2016, Defendants’ Exhibit 4 to the Deposition of Andrew Motz

      26.   Bill of lading for load hauled by James Johnson, Jr. on October 26,

            2016, Defendants’ Exhibit 5 to the Deposition of Andrew Motz

      27.   Delivery reports for loads delivered by James Johnson, Jr. on October

            26, 2016, Defendants’ Exhibit 6 to the Deposition of Andrew Motz

      28.   Employee termination/resignation by Energy Dispatch, LLC for James

            Johnson, Jr., Defendants’ Exhibit 7 to the Deposition of Andrew Motz

      29.   All photographs of the vehicles

      30.   All photographs of the accident scene

      31.   Certified copies of public records from State of Louisiana v. James

            Johnson, Case No. 19-4081, Division O, 24th Judicial District Court,

            Jefferson Parish, Louisiana

      32.   Certified copies of public records from State of Louisiana v. James

            Johnson, Case No. 09-4616, Division N, 24th Judicial District Court,

            Jefferson Parish, Louisiana


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      Defendants may introduce the following exhibits at the trial of the above-

styled case:

      33.      All pleadings filed in this case

      34.      Interrogatory responses of James Johnson, Jr. and Ericka Johnson

      35.      Responses to requests for production by James Johnson, Jr. and Ericka

               Johnson

      36.      Documents produced by Plaintiffs in response to discovery requests

      37.      Documents produced by Defendant ABF Freight System, Inc. in

               response to discovery requests (ABF FREIGHT SYSTEM 000001-

               000353)

      38.      Documents produced by Mark Massingill in response to discovery

               requests (MARK MASSINGILLL 000001-000002)

      39.      Documents produced by Racetrac Petroleum, Inc. in response to

               Defendants’ subpoena (RACETRAC PETROLEUM 000001-000153)

      40.      Documents produced by American Building Products, LLC in response

               to Defendants’ subpoena (AMERICAN BUILDING PRODUCTS,

               LLC 000001-000115)

      41.      Med Bill Audit Analysis and Record Review prepared by Nancy

               Michalski dated July 23, 2019

      42.      Expert Report and File Materials of Dr. Lars Reinhart


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      43.    Expert Report and file of Dr. Jennings Marshall

      44.    Expert Report and file of Nancy Michalski

      45.    Expert Report and File of Douglas Miller

      46.    Resume of Dr. Lars Reinhart

      47.    Resume of Dr. Jennings Marshall

      48.    Resume of Nancy Michalski

      49.    Resume of Douglas Miller

      50.    All documents identified in Plaintiffs’ Initial Disclosures and Exhibit

             List

      51.    Any and all depositions taken in this case, including the exhibits to

             those depositions

      52.    Any and all documents produced in response to subpoenas issued by

             Plaintiffs or Defendants

      53.    Demonstrative aids

      54.    Any documents necessary for impeachment or rebuttal

      Defendants reserve the right to amend this exhibit list based on the Court’s

rulings on the viability and/or admissibility of certain claims and/or defenses of the

parties. Defendants, by listing the above mentioned documents, do not waive the

right to object to all or a portion thereof on the basis of authenticity, relevance, undue

prejudice, or any other grounds whatsoever.


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                                   Respectfully submitted,

                                   /s/ Thomas L. Oliver, II
                                   Thomas L. Oliver, II (ASB-3153-R53T)
                                   Robert A. Arnwine, Jr. (ASB-5964-B65A)
                                   Dennis O. Vann, Jr. (ASB-5854-I61U)
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                         CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of November, 2020, I have served a copy
of the above and foregoing on counsel for all parties by:

          Facsimile transmission;
          Hand Delivery;
        _ Electronic Mail;
          Placing a copy of same in the United States Mail, properly
          addressed and first class postage prepaid to; and/or
        X Using the Alafile or CM/ECF system which will send
          notifications of such to the following:

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                                      s/ Thomas L. Oliver, II
                                      Of Counsel




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